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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA
______________________________________________________________________________

United States of America,                                  Criminal No. 06-09 (1)-(2) (RHK/RLE)

                        Plaintiff,                                         ORDER

        vs.

Richard Charles Person (1), and
Ronnielynn Marie Keezer (2),

                        Defendants.

______________________________________________________________________________

        Based upon the Report and Recommendation of United States Magistrate Judge Raymond L.

Erickson, and after an independent review of the files, records and proceedings in the above-entitled

matter, it is ORDERED:

        1. The Report and Recommendation (Doc. No. 68) is ADOPTED;

        2. The Motion of Ronnielynn Keezer to Dismiss the Indictment (Doc. No. 46) is DENIED;

        3. The Motion of Ronnielynn Keezer to Suppress Evidence of Search and Seizure (Doc. No.

41) is DENIED;

        4. The Motions of Ronnielynn Keezer to Quash Arrest and Suppress Evidence Illegally

Obtained (Doc. Nos. 51 and 52) are DENIED; and
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       5. The Motion of Ronnielynn Keezer to Suppress Evidence Derived from Electronic

Surveillance (Doc. No. 54) is DENIED AS MOOT;

Dated: April 6, 2006

                                                   s/Richard H. Kyle
                                                   RICHARD H. Kyle
                                                   United States District Judge
